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No. 04-09-00155-CR



				Ismael GONZALES,


Appellant



v.



The STATE of Texas,


Appellee



From the 226th Judicial District Court, Bexar County, Texas


Trial Court No. 2007-CR-6986


Honorable Sid L. Harle, Judge Presiding



PER CURIAM


Sitting:	Phylis J. Speedlin, Justice

		Rebecca Simmons, Justice

		Steven C. Hilbig, Justice


Delivered and Filed:	April 29, 2009


DISMISSED

	The trial court's certification in this appeal states that "this criminal case is a plea-bargain
case, and the defendant has NO right of appeal."  Rule 25.2(d) of the Texas Rules of Appellate
Procedure provides that an appeal "must be dismissed if a certification that shows the defendant has
the right of appeal has not been made part of the record under these rules."  Tex. R. App. P. 25.2(d). 
The clerk's record, which was filed on CD-ROM, contains a written plea bargain, and the
punishment assessed did not exceed the punishment recommended by the prosecutor and agreed to
by the defendant; therefore, the clerk's record supports the trial court's certification that defendant
has no right of appeal.  See Tex. R. App. P. 25.2(a)(2).  In addition, appellant's counsel has filed a
letter in which he states that he has reviewed the electronic clerk's record and "can find no right of
appeal for Appellant;" counsel concedes that the appeal must be dismissed.  In light of the record
presented, we agree with appellant's counsel that Rule 25.2(d) requires this court to dismiss this
appeal.  Tex. R. App. P. 25.2(d).  Accordingly, the appeal is dismissed.  See Tex. R. App. P. 25.2(d).

							PER CURIAM



DO NOT PUBLISH


